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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :
                                    :
            v.                      :
                                    :                 Case No. 1:21-cr-371 (RC)
JONAH WESTBURY                      :
                                    :
            Defendant.              :
_____________________________________

UNITED STATES OF AMERICA            :
                                    :
            v.                      :                 Case No. 1:21-cr-605 (RC)
                                    :
ISAAC WESTBURY,                     :
AARON JAMES, and                    :
ROBERT WESTBURY,                    :
                                    :
                  Defendants.       :
_____________________________________

                               UNOPPOSED MOTION TO JOIN

       The United States of America, by its attorney, Matthew M. Graves, United States Attorney

for the District of Columbia, and Jordan A. Konig, Trial Attorney, U.S. Department of Justice,

hereby moves the Court to join these two related criminal actions1 pursuant to Federal Rule of

Criminal Procedure 13. Defense counsel John Pierce, who represents all defendants named in

these separate actions, states that the defendants do not oppose the relief sought herein.

       Federal Rule of Criminal Procedure 13 provides that, “[t]he court may order that separate

cases can be tried together as though brought in a single indictment or information if all offenses

and all defendants could have been joined in a single indictment or information.” Fed. R. Crim.




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 The government submits that these cases are related pursuant to Local Criminal Rule
57.12(a)(1), because the prosecution of different defendants arises from activities which are part
of the same alleged criminal event or transaction.
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P. 13. Joinder of offenses in a single indictment is governed by Rule 8(a), which states that joinder

is permissible if the offenses (1) are of the same or similar character, or (2) are based on the same

act or transaction, or (3) are based on two or more acts or transactions constituting parts of a

common scheme or plan. United States v. Burkley, 591 F.2d 903, 918 (D.C. Cir. 1978) (citing

Fed. R. Crim. P. 8(a)) (considering prior version of Fed. R. Crim. P. 13). Put another way, “[t]he

test for proper joinder is a common thread to each of the defendants.” United States v. Rogers,

921 F.2d 975, 984 (10th Cir. 1990); see also United States v. Cervone, 907 F.2d 332, 341 (2nd Cir.

1990). In determining whether joinder of multiple defendants in a single prosecution is proper,

the trial court may consult the indictment as well as any other pretrial evidence offered by the

government. United States v. Wilson, 26 F.3d 142, 153 (D.C. Cir. 1994).

       The Court has recognized the “‘unnecessary waste of judicial, prosecutorial and civic

effort, resources, and time’” that occurs where separate juries would be presented with the same

evidence in separate trials. United States v. Wilkins, 538 F. Supp. 3d 49, 88 (D.D.C. 2021)

(Contreras, J.) (quoting United States v. Treadwell, 566 F. Supp. 80, 86-87 (D.D.C. 1983))

(considering motion for severance of offenses joined under Rule 8(b)).

       Here, Jonah Westbury, his father, Isaac Westbury, and his brothers, Robert Westbury and

Aaron James, are alleged to have unlawfully entered the U.S. Capitol Building together through

the Rotunda Door at or about 2:40 p.m. on January 6, 2021. That conduct resulted in the four-

count information returned against Jonah Westbury, see United States v. Westbury, No. 1:21-cr-

371-RC, ECF 13, and Counts Four, Six, Eight, and Ten of the Superseding Indictment returned

against Isaac Westbury, Aaron James, and Robert Westbury, see United States v. Westbury, No.

1:21-cr-605-RC, ECF 35. The conduct alleged by the government, and the evidence of those

offenses, is essentially identical in both actions. Joining these cases for trial will conserve judicial



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resources, alleviate the burdens on citizens serving as jurors, and avoid the necessity of having

witnesses reiterate testimony in a series of trials. See Wilkins, 538 F. Supp. 3d at 88 (quoting

Treadwell, 566 F. Supp. at 86).

        Rules 8(a) and 13 are rooted in considerations of judicial economy, but a court also must

consider whether joinder or consolidation would result in prejudice to the government or a

defendant. Burkley, 591 F.2d at 919. Here, as recognized by the defendants’ consent to the relief

sought in this motion, joinder would not prejudice defendants. There is no “serious risk” that a

jury will be unable to make a reliable judgment about each defendant’s guilt or innocence such

that each defendant will be unable to have a fair trial unless the cases remain separate. Wilkins,

538 F. Supp. 3d at 87-88 (quoting United States v. Gooch, 665 F.3d 1318, 1336 (D.C. Cir. 2012)).

       Accordingly, the government requests that the Court join these two criminal actions

pursuant to Federal Rule of Criminal Procedure 13.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY

                                             /s/ Jordan A. Konig
                                             JORDAN A. KONIG
                                             Trial Attorney, U.S. Department of Justice
                                             Detailed to the U.S. Attorney’s Office
                                             For the District of Columbia
                                             P.O. Box 55
                                             Washington, D.C. 20044
                                             202-305-7917 (v)
                                             202-514-5238 (f)
                                             Jordan.A.Konig@usdoj.gov




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